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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:02CR194
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )                    ORDER
                                            )
ARTURO CARDENAS-GUTIERREZ,                  )
                                            )
              Defendant.                    )

       This matter is before the Court on the Defendant’s successive motion to vacate the

Judgment (Filing No. 171).

       In the Court’s previously issued Memorandum and Order (Filing No. 170), the Court

denied the Defendant’s previously filed successive § 2255 motion (Filing No. 170).

       Rule 9 of the Rules Governing Section 2255 Proceedings provides: “Before

presenting a second or successive motion, the moving party must obtain an order from the

appropriate court of appeals authorizing the district court to consider the motion, as

required by 28 U.S.C. § 2255, para. 8.” The previous successive motion was denied

because the Defendant had not complied with Rule 9, and this motion is denied for the

same reason.

       IT IS ORDERED that the Defendant’s successive motion to vacate the Judgment

(Filing No. 171) is denied.

       DATED this 12th day of July, 2010.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
